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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

In re:                                                   §             Chapter 11
                                                         §
ZENERGY BRANDS, INC., et al.,1                           §             Case No. 19-42886
                                                         §
         Debtor.                                         §             (Jointly Administered)


    MOTION TO ENFORCE ORDER GRANTING OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS' MOTION FOR ORDER AUTHORIZING
   EXAMINATION OF PREPETITION AND DIP LENDERS AND INSIDERS AND
       AFFILIATES THEREOF PURSUANT TO BANKRUPTCY RULE 2004


                                         [Relates to Docket No. 125]

                            21-DAY NEGATIVE NOTICE – LBR 9007(a):

Your rights may be affected by the relief sought in this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy case.
If you oppose the relief sought by this pleading, you must file a written objection,
explaining the factual and/or legal basis for opposing the relief.

No hearing will be conducted on this Motion/Objection/Application unless a written
objection is filed with the Clerk of the United States Bankruptcy Court and served upon the
party filing this pleading WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF
SERVICE shown in the certificate of service unless the Court shortens or extends the time
for filing such objection. If no objection is timely served and filed, this pleading shall be
deemed to be unopposed, and the Court may enter an order granting the relief sought. If an
objection is filed and served in a timely manner, the Court will thereafter set a hearing with
appropriate notice. If you fail to appear at the hearing, your objection may be stricken. The
Court reserves the right to set a hearing on any matter.

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

         The Official Committee of Unsecured Creditors (the "Committee") for Zenergy Brands,

Inc. and related Debtor entities (collectively, the "Debtors") hereby files this Motion to Enforce Order

Granting Official Committee of Unsecured Creditors' Motion for Order Authorizing Examination of Prepetition and

1 The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax

identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045);
Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and Zen
Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano, TX 75024.

COMMITTEE'S MOTION TO ENFORCE ORDER AUTHORIZING 2004 EXAMINATION OF TCA                                    PAGE 1 OF 5
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DIP Lenders and Insiders and Affiliates Thereof Pursuant to Bankruptcy Rule 2004 (the "Motion"), and in

support thereof, respectfully states as follows:

                                         JURISDICTION & VENUE

        1.       The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         PROCEDURAL POSITION

        3.       On October 24, 2019 ("Petition Date"), each of the Debtors filed voluntary

petitions under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the

"Bankruptcy Code"), in the United States Bankruptcy Court for the Eastern District of Texas,

Sherman Division (the "Court"). The Debtors' Chapter 11 cases are jointly administered under the

lead case of Zenergy Brands, Inc., Case No. 19-42886.

        4.       On November 26, 2019, the Committee filed its Motion for Order Authorizing

Examination of Prepetition and DIP Lenders and Insiders and Affiliates Thereof Pursuant to Bankruptcy Rule

2004 [Dkt. #109] (the "2004 Motion") seeking an order that, among other things, required TCA

Global Credit Master Fund, L.P. and TCA Special Situations Credit Strategies ICAV (collectively,

"TCA") to produce the requested documents set forth in Exhibit "A" attached thereto (the

"Requested Documents").

        5.       On December 11, 2019, the Court granted the 2004 Motion and entered an Order

Granting Official Committee of Unsecured Creditors' Motion for Order Authorizing Examination of Prepetition and

DIP Lenders and Insiders and Affiliates Thereof Pursuant to Bankruptcy Rule 2004 [Dkt. #125] (the "2004

Order"), pursuant to which TCA was required to produce all Requested Documents, on a rolling

basis, "commencing not later than December 7, 2019, and continuing through noon CST on

December 18, 2019" (the "Production Deadline").


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        6.      On December 18, 2019, TCA filed an Agreed Motion to Extend (I) Rule 2004 Document

Production Deadline and (II) Challenge Period [Dkt. #132] seeking, among other things, a three-week

extension of the Production Deadline, to which the Committee consented.

        7.      On December 30, 2019, the Court entered an Order Granting Agreed Motion to Extend

(I) Rule 2004 Document Production Deadline and (II) Challenge Period [Dkt. #138], thereby extending the

Production Deadline through "noon CST on January 8, 2020" (the "Extended Production

Deadline").

                                          RELIEF REQUESTED

        8.      The Committee hereby requests that the Court enter an order compelling TCA's

compliance with the 2004 Order and requiring TCA's immediate production of the Requested

Documents.

        9.      As of the date of this Motion, TCA has not produced any of the Requested

Documents, nor has the Committee heard from TCA regarding such production. TCA has not

contacted the Committee with any production updates, and it has not requested any further

extension of the Extended Production Deadline. In short, the Extended Production Deadline has

passed and TCA has not shown any intent to comply with the 2004 Order.

        10.     Throughout this case the Committee has worked with TCA in good faith to reach a

consensual plan of reorganization for the debtor, and the Committee obliged without question to

TCA's request for a three-week extension of the original Production Deadline. But instead of

utilizing the Extended Production Deadline to compile and produce the Requested Documents,

TCA has responded to the Committee's good faith efforts with a complete disregard of the

production requests and the 2004 Order.

        11.     It has now been over six weeks since the Committee filed its 2004 Motion and

provided TCA with notice of the same. Not only did TCA agree to the original Production


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Deadline, TCA was the party that proposed the Extended Production Deadline (i.e., the extended

deadline was not negotiated down by the Committee). If TCA were not able to perform within that

time frame, it would have surely requested additional time. Moreover, the 2004 Order contemplates

a "rolling production," meaning that the Requested Documents should have been produced as they

were located by TCA. In contrast to the Debtors, who have fully and timely complied with the

Committee's 2004 Motion2 and produced thousands of pages of documents, the Committee has not

received a single Requested Document from TCA. It therefore seems that TCA has no intent of

complying with the 2004 Order.

          12.       For the foregoing reasons, the Court should enter an order compelling TCA's

compliance with the 2004 Order and requiring that TCA immediately produce all Requested

Documents.

          WHEREFORE, the Committee respectfully requests that the Court grant this Motion and

enter an order (a) mandating TCA's compliance with all provisions of the 2004 Order, (b) requiring

TCA to produce all Requested Documents within seven (7) days of the Court's entry of an order

granting this Motion, and (c) granting the Committee such other and further relief to which it may

be justly entitled.




2Official Committee of Unsecured Creditors' Motion for Order Authorizing Examination of Debtors and Insiders and Affiliates Thereof
Pursuant to Bankruptcy Rule 2004 [Dkt. #108].

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Dated: January 8, 2020                                     Respectfully submitted,

                                                           KANE RUSSELL COLEMAN LOGAN PC

                                                           By:     /s/ Joseph M. Coleman
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on January 8, 2020, a true and correct copy of the foregoing document
was served (a) via the Court's electronic filing system (ECF) upon all parties receiving such service in
this bankruptcy case; (b) via first-class U.S. mail on the attached Limited Master Service List dated
January 2, 2020; and (c) via email and/or first-class U.S. mail on the following parties:

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                                                                   /s/ Joseph M. Coleman
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